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                            UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MASSACHUSETTS

KHALIDA SARWARI,

                     Plaintiff,

         v.                                         Case No. 1:24-cv-11578

NORTHEASTERN UNIVERSITY,

                     Defendant.



                                  CERTIFICATE OF SERVICE

        I hereby certify that on July 10, 2024, a true copy of the Certified State Court Record was
electronically filed through the Court’s ECF system and will be sent electronically to the
registered participants as identified on the Notice of Electronic Filing and paper copies will be
sent to those indicated as non-registered participants.



                                                     /s/ Robert A. Fisher
                                                     Robert A. Fisher




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